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             Exhibit 20
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                                             (212) 880 9410


                                         March 21, 2023

 BY EMAIL

 David M. Stein, Esq.
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 Washington DC 20005

 Re:    Fleites v. MindGeek S.a.r.l. et al., March 16, 2023 Meet-and-Confer Follow Up

 Dear David and John:

         I write to memorialize the positions of individual defendants Antoon and Tassillo at the
 telephonic meet-and-confer session on Thursday, March 16, 2023, following the format of
 Michael Bowe’s letters to counsel for Antoon and Tassillo dated March 13, 2023 (the “March 13
 Letters”), sent pursuant to the Court’s March 8, 2023 order. As the two letters are substantially
 the same, Antoon and Tassillo address your requests together.

 Relevant Time Period

        The March 13 Letters suggest that all searches be conducted “at least through June
 2021,” rather than through June 30, 2020. We believe the appropriate period for jurisdictional
 discovery is June 1, 2014, through June 30, 2020 (the “Relevant Period”). Antoon and Tassillo
 proposed the following compromise position: Antoon and Tassillo run search terms for
 responsive documents through the date of the filing of the complaint in this action, June 17,
 2021; and, for documents dated after the Relevant Period, a document would be considered
 responsive if it related to the implementation and direction of CSAM policy during the Relevant
 Period. Plaintiff’s counsel stated that they would consider this suggested compromise and confer
 with colleagues before determining whether this compromise was acceptable.
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        The remainder of the discussion addressed the specific requests in the March 13 Letters.

 Specific Requests

 1. Documents identifying Mr. Tassillo’s ownership and economic interests in any
 MindGeek related entity or business (RFP 7).

         As we advised you, the MindGeek entities have produced documents sufficient to show
 our clients’ interests in the MindGeek entities, and Antoon and Tassillo each also addressed this
 issue in response to Plaintiff’s Interrogatory No. 1. We further believe you are mistaken to
 consider FDCo Holding, Inc. (“FDCo”) a “MindGeek related entity,” and that that term should
 refer only to entities consolidated on MindGeek’s audited financial statements. FDCo is a
 separate entity through which Antoon and Tassillo hold their interest in MindGeek; it is not a
 MindGeek company. How Antoon and Tassillo hold their interests in FDCo relates only to their
 personal financial planning, and thus is not relevant to personal jurisdiction, including on an alter
 ego basis. Notwithstanding this objection, the documents produced by the MindGeek Entities
 demonstrate how Antoon and Tassillo hold their interests in MindGeek, including showing their
 ownership of the entities that hold the shares of FDCo.

         In particular and without limitation, we direct your attention to the October 18, 2013
 Shareholders’ Agreement (MindGeek_Fleites_00015893); the Manwin Holding Sarl
 Reorganization & Related Documents (MindGeek_Fleites_00016538); the organizational
 documents for 9288-1259 Quebec Inc. and 9288-1275 Quebec, Inc., including share certificates
 (MindGeek_Fleites_00020032); the organizational documents for FDCo—formerly known as
 MindGeek Holding Inc. (MindGeek_Fleites_00020191); and the March 22, 2018 Amendment to
 the Shareholders’ Agreement (MindGeek_Fleites_00009217). This production, in combination
 with and Antoon’s and Tassillo’s responses to Plaintiff’s Interrogatory No. 1, is more than
 sufficient to identify their “ownership and economic interests in any MindGeek related entity or
 business,” and thus no further production in response to Request No. 1 in the March 13 Letters is
 necessary or proportional to the personal jurisdiction issues in the case.

 2. Documents reflecting all monies invested in, or received from, any MindGeek related
 entity and the related contract or agreement under which those payments and distributions
 were made (RFP 3, 7).

        Regarding money invested in MindGeek, as part of the 2013 reorganization, MindGeek
 Holding Inc—later renamed FDCo—made a nominal investment in MindGeek Sarl of
 € 31,009.50 (MindGeek_Fleites_ 00020322-73) by acquiring shares at par value.

        With respect to money received from MindGeek, Antoon and Tassillo received money
 from the MindGeek related entities in two categories: (a) salary, employment-related benefits,
 and bonuses; and (b) shareholder distributions and dividends. The MindGeek Entities have
 produced records from the company’s internal accounting systems reflecting these payments for
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 both Antoon and Tassillo (MindGeek_Fleites_00003002, 3003, 3006, 9212). The MindGeek
 Entities have also produced Antoon and Tassillo’s Further Amended and Restated Employment
 Agreements dated October 18, 2013 and March 22, 2018 (MindGeek_Fleites_00000042
 (Tassillo) and MindGeek_Fleites_00000020 (Antoon)).

         In addition to these wages, employment-related benefits, and bonuses, from November
 19, 2014, to December 29, 2016, Antoon and Tassillo received dividend distributions directly
 from 9219-1568 Quebec Inc. The MindGeek Entities have produced records from the
 company’s internal accounting system showing the date and amounts of these payments
 (MindGeek_Fleites_00003002). Beginning in 2017, shareholder distributions to Antoon and
 Tassillo were made via payments to FDCo. The MindGeek Entities have produced records from
 the company’s accounting system detailing (a) the total payments made by year to each party to
 the 2013 Shareholders’ Agreement; (b) the types of distributions made pursuant to that
 agreement; and (c) the year in which the distributions were paid (MindGeek_Fleites_00009212).

         Neither Antoon nor Tassillo will search bank statements, which we do not believe is
 necessary or appropriate in light of the associated burden and the information that has already
 been produced. Antoon and Tassillo have offered to provide a verification under oath that the
 payments reflected on the MindGeek records described above are the only payments each has
 received as a result of their employment and ownership interests. We believe the documents and
 other information produced provide more than sufficient discovery on this issue.

 3. Documents identifying any entity not consolidated on MindGeek-produced financial
 statements in which Mr. Tassillo holds an interest that does business with any MindGeek
 entity or business (RFP 7).

         As we have previously advised you, during the Relevant Period, Antoon and Tassillo had
 interests in two properties that were leased as office space in Montreal to one of the MindGeek
 related entities. The MindGeek Entities have produced the leases for the two properties, and
 records payments made under those leases. (MindGeek_Fleites_00009097-131;
 MindGeek_Fleites_00009143-47; MindGeek_Fleites_00009133-42;
 MindGeek_Fleites_00030405; MindGeek_Fleites_00009036-77; MindGeek_Fleites_00030406).
 Mr. Tassillo will produce the June 13, 2016 purchase agreement for the 7777 Decarie property,
 and the October 3, 2019 purchase agreement for the 8000 Decarie property.

         As also mentioned on our call, Tassillo held interests in two Delaware entities,
 Appscrutiny LLC and Appiation Management LLC—formed in or about June 2017 and in or
 about March 2018, respectively. Tassillo identified his interests in these entities in response to
 Plaintiff’s Interrogatory No. 4. Subject to and without waiving his previously stated objections
 on relevance and other grounds, Tassillo will produce documents identifying Appscrutiny LLC
 and Appiation Management LLC.

 4. All non-privileged documents and communications concerning Serena Fleites, including
 any communications concerning her or her claims, made to, from, or among Mr. Tassillo
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 and any of the Individual Defendants or any MindGeek representatives, executives, or
 employees (RFP 1, 4, 5).

         Neither Antoon nor Tassillo has any documents or communications with Ms. Fleites
 during the Relevant Period. In addition, without waiving our objections concerning the Relevant
 Period, we have advised you that neither Antoon nor Tassillo have documents relating to Ms.
 Fleites through the later period in their personal emails. You asked that we run searches in the
 Mobile Data (the text messages and other messaging app data that the MindGeek Entities have
 searched in the past) through the later period, and we took the request under advisement. We
 will advise you of our position after consultation with counsel for the MindGeek Entities.

 5. All documents and communications concerning Mr. Tassillo’s MindGeek-related trips to
 California and the United States, including documents sufficient to identify the dates,
 locations, purposes, and substance of those trips where any MindGeek business was
 conducted or discussed. (RFP 11, ROG 4).

         The MindGeek Entities have produced records from company travel and expenses system
 showing the dates, locations, and purpose of trips taken by Antoon and Tassillo during the
 Relevant Period. Plaintiff’s requests for all documents and communications concerning our
 clients’ MindGeek-related business trips to California and the United States are overbroad and
 beyond the scope of jurisdictional discovery. Nonetheless, we will consider any proposed search
 terms Plaintiff may offer for this request.

 6. All documents and communications concerning Mr. Bergmair’s travel for MindGeek-
 related business, including all documents and communications concerning his trips to 9219-
 1568 Quebec, Inc. (RFP 6, 14).

         Plaintiff’s request for all documents and communications concerning Defendant
 Bergmair’s travel for MindGeek-related business is overbroad, beyond the scope of permissible
 jurisdictional discovery, not within the scope of Plaintiff’s RFPs, and not part of Plaintiff’s
 motion compel that is currently in dispute.

 7. Documents and communications concerning the resignations of Mr. Tassillo and
 Individual Defendant Feras Antoon (RFP 30).

        Plaintiff’s request for documents and communications concerning the resignations of
 Antoon and Tassillo in June 2022—long after the Relevant Period—is overbroad and beyond the
 scope of permissible jurisdictional discovery.

 8. All documents and communications made to or from Mr. Tassillo concerning any
 MindGeek Entity’s policies, practices, and/or procedures for CSAM and non-consensual
 content, (RFP 1, 4, 5, 38-41), including:



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        a. Documents and communications pertaining to the implementation and training of
        any screening, CSAM, and non-consensual content policies;
        b. Training and instruction concerning the use of the Content Management System
        during the review and screening of uploaded content;
        c. Documents and Communications sent to managers and team leads concerning the
        applicability of policies, practices, and procedures to potential CSAM and non-
        consensual content;
        d. Work schedules and rotation calendars of the screeners and moderators in
        Cyprus and Montreal; and
        e. Policies and directives concerning tagging, descriptions, formatting, optimizing,
        categorization, reuploading, and optimization of user generated content and
        uploaded material.
        f. During the hearing, you committed to running searches using the terms we
        provided to you. We therefore ask you to search all possible sources, electronic or
        paper, including text and other electronic messages, for the following additional
        search terms:

         In response to Request No. 8 and its various subparts, we note that after our call, we sought
 confirmation that Plaintiff did not intend these terms to be run in addition to its prior list of
 approximately 280 CSAM-related search terms included in a letter to counsel for the MindGeek
 Entities dated February 28, 2023, but that they were to be run instead of that longer list of terms.
 On March 17, Plaintiff confirmed by email that this was correct, and asked that if Antoon and
 Tassillo had already run searches related to the longer list of terms, that we produce any responsive
 material.

         As they have previously stated, subject to and without waiving their previously-stated
 objections, Antoon and Tassillo will run both sets of Plaintiff’s CSAM-related search terms (that
 is, those from the February 28, 2023 letter, and those from the March 13, 2023 letter) over the
 personal emails from the Relevant Period in their possession, and produce responsive,
 nonprivileged documents to Plaintiff, if any.




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         Please let us know if we have issues in dispute with respect to Plaintiff’s requests in the
 March 13 Letters, or if an additional meet-and-confer call would be productive. We remain open
 to discussing these issues in order to reach an agreement and avoid further motion practice.


                                                                     Very truly yours,

                                                                     /S/ Jonathan Sack

                                                                     Jonathan Sack
                                                                     Counsel for David Tassillo




                                                                     /S/ Jason Brown

                                                                     Jason Brown
                                                                     Counsel for Feras Antoon




                                                                     /S/ Nathaniel P.T. Read

                                                                     Nathaniel P.T. Read
                                                                     Counsel for Feras Antoon




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